                   Case 07-10416-BLS                      Doc 5954-3               Filed 04/14/08               Page 1 of 2




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS,                                                 Chapter 11
INC., et al.,                                                             Case No. 07-10416-KJC, et seq.

                                  Debtors.


                  ORDER TERMINATING AUTOMATIC STAY UNDER
              SECTION 362 OF THE BANKRUPTCY CODE WITH RESPECT
          TO REAL PROPERTY LOCATED AT 5166 S. 45TH ST., OMAHA, NE 68117
                              (relates to Docket No. ____)

           UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code with Respect to Real Property Located at 5166 S. 45th St., Omaha,

NE 68117 (the “Motion”) filed by Deutsche Bank Trust Company Americas, as Trustee and

Custodian for HSBC Bank USA, NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its

attorney-in-fact (“Movant”), and any response thereto; the Court having determined that (A) the

Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. §

1409(a); and (D) service to the limited parties stated on the Certificate of Service is adequate

under the circumstances; and the Court having further determined that cause exists to grant

Movant relief from the automatic stay with respect to Movant’s exercise of any rights and

remedies against the real property located at 5166 S. 45th St., Omaha, NE 68117 (the

“Property”) under applicable non-bankruptcy law; it is hereby

           ORDERED, that the Motion be, and the same is hereby GRANTED. All capitalized

terms not otherwise defined herein shall have the respective meanings set forth in the Motion;

and it is further
Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank USA, NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its
attorney-in-fact
D&G Reference: 214238/NinaSub2
Property Address: 5166 S. 45th St., Omaha, NE 68117
             Case 07-10416-BLS           Doc 5954-3    Filed 04/14/08   Page 2 of 2




        ORDERED, that pursuant to 11 U.S.C. § 362(d), to the extent the automatic stay is

otherwise applicable, Movant is hereby granted relief from the automatic stay, and the automatic

stay is terminated, with respect to Movant’s interest in the Property. Movant is hereby permitted

to exercise its rights under applicable non-bankruptcy law against the Property, including but not

limited to foreclosure of the Mortgage; and it is further

        ORDERED, that nothing in this order (i) shall constitute a determination that the Debtor

holds any interest in the Property or (ii) shall estop the Debtor from denying that it holds any

interest in the Property; and it is further

        ORDERED, that this Order is immediately effective and is not stayed by operation of

law, notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE




                                                 -2-
